         3:15-cv-03318-CSB # 97             Page 1 of 2                                              E-FILED
                                                                     Monday, 27 November, 2017 09:52:22 AM
                                                                                Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    SPRINGFIELD DIVISION

TYLER WALKER,                                  )
                                               )
               Plaintiff,                      )
                                               )
        -vs-                                   )         No. 15-3318
                                               )
JEFFERY KORTE, et al.,                         )
                                               )
               Defendants.                     )

               CERTIFICATE OF SERVICE OF DISCOVERY DOCUMENTS

     I certify that on November 27, 2017, I served Defendants’ Response to Plaintiff’s Request

of Admissions to Plaintiff at the address below, by first-class U.S. mail, together with this

Certificate:

Tyler Walker, R48022
Western Illinois Correctional Center
Inmate Mail/Parcels
2500 Rt 99 South
Mt Sterling, IL 62353

Dated: November 27, 2017                           Respectfully submitted,

Lisa Madigan
Attorney General of the State of Illinois          By:   s/   Megan Murphy
                                                         Megan Murphy
                                                         Assistant Attorney General
                                                         Office of the Illinois Attorney General
                                                         1776 East Washington Street
                                                         Urbana, Illinois 61802
                                                         Phone: (217) 278-3362
                                                         E-Mail: mmurphy@atg.state.il.us
        3:15-cv-03318-CSB # 97          Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 27, 2017, I electronically filed the foregoing

Certificate of Service of Discovery Documents, with the Clerk of Court using the CM/ECF

system, and I hereby certify that on that same date, I caused a copy of same to be mailed by

United States Postal Service, in an envelope fully prepaid and properly addressed, to the

following participants:

Tyler Walker, R48022
Western Illinois Correctional Center
Inmate Mail/Parcels
2500 Rt 99 South
Mt Sterling, IL 62353
                                                   Respectfully submitted,




                                                  By:
                                                         s/   Megan Murphy
                                                         Megan Murphy
                                                         Assistant Attorney General
                                                         Office of the Illinois Attorney General
                                                         1776 East Washington Street
                                                         Urbana, Illinois 61802
                                                         Phone: (217) 278-3362
                                                         E-Mail: mmurphy@atg.state.il.us




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